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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.4
                                Eastern Division

Seema Madhavan
                             Plaintiff,
v.                                                 Case No.: 1:22−cv−01350
                                                   Honorable Edmond E. Chang
Blistex, Inc.
                             Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, April 29, 2022:


        MINUTE entry before the Honorable Edmond E. Chang: The joint motion for
extra pages [8] is granted. Both sides may use 23 pages in their upcoming principal briefs
on the anticipated dismissal motion. For future reference, under the operative version of
General Order 21−0027 (available on the District Court's website), Local Rule 5.3(b)
remains suspended, so motions should not be noticed for presentment. Emailed notice
(mw, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

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